         Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 1 of 23




                    IN THE UNITED STATES DISTRICT COURT

               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                  :

               v.                         :      CRIMINAL NO. 21-cr-311

STANLEY WOLOFF                            :




                 GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by its attorneys, Jennifer Arbittier Williams, United

States Attorney for the Eastern District of Pennsylvania, and Louis D. Lappen, Deputy

United States Attorney for the District, hereby submits its sentencing memorandum in the

above-captioned case.

   I.      PRELIMINARY STATEMENT

        Over a six-year period, defendant Stanley Woloff, a SEPTA vendor, engaged in

repeated acts of fraud and bribery in a scheme involving managers in SEPTA’s Bridges

and Buildings Department. This scheme generated over $330,197 in proceeds for Woloff

and the corrupt SEPTA managers who were engaged in similar criminal activity with

another SEPTA vendor, Mark Irvello. In total, this criminal activity, under the most

conservative estimates, resulted in almost $900,000 in losses to SEPTA and did

tremendous monetary and psychic damage to SEPTA, its employees, and the citizens

who fund SEPTA through the payment of taxes and ridership fares. Such conduct calls

for serious punishment.
          Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 2 of 23




         On the other hand, the defendant admitted to his illegal conduct during the

investigation, has shown remorse, and has accepted responsibility for his actions. For

these reasons and the reasons set forth below and in other sentencing documents, the

government recommends a sentence below the advisory guideline range of 46-57

months’ imprisonment. In particular, the government recommends a sentence within a

range of 18-24 months, which is the equivalent of an 8-level downward adjustment under

the Sentencing Guidelines.

   II.        SUMMARY OF THE CRIMINAL ACTIVITY

         A.     Introduction

         The charges arose from the defendant’s participation in a fraud and bribery

scheme involving managers in the Bridges and Buildings Department (“BBD”) of the

Southeastern Pennsylvania Transportation Agency (“SEPTA”) and vendors who supplied

products to the BBD. The BBD is responsible for maintenance, construction, and

rehabilitation work performed at various SEPTA locations. Several SEPTA managers in

the BBD used their SEPTA-issued credit cards (“P-Cards”) to defraud SEPTA by

obtaining cash and personal products from vendors who supplied goods to SEPTA. To

cover cost of the products and cash provided to SEPTA employees, the vendors billed

SEPTA for products that the vendors did not provide to SEPTA. The vendors generally

billed SEPTA as much as double the amount provided to the corrupt managers so they

could share in the criminal proceeds. The vendors provided the cash and products to

SEPTA managers for two reasons: (1) to generate and share fraud proceeds with the
                                              2
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 3 of 23




SEPTA managers; and (2) to maintain and increase business from SEPTA. The total loss

to SEPTA is approximately $900,000.

       Woloff was the owner and operator of Advantage Industrial Supply (“AIS”),

located at 2137 East Tioga Street in Philadelphia, Pennsylvania. AIS sold industrial

supplies and other products to various customers, including SEPTA, through employees

in the BBD. Woloff was one of the two vendors in this scheme who provided benefits to

the SEPTA managers in exchange for sharing in the profits of both fraudulent and

legitimate billing to SEPTA.

       B.     General Background Facts

       SEPTA is a metropolitan transportation authority providing rail, trolley, and bus

services to passengers within Philadelphia, Pennsylvania, and the surrounding counties as

well as service between the States of Delaware and New Jersey. SEPTA is an

organization, and an agency of a state government, which received annual benefits in

excess of $10,000 under federal programs involving grants, contracts, subsidies, loans,

guarantees, and other forms of federal assistance. In fact, in each of the years of the

charged fraud, SEPTA received well over $100 million from federal sources.

       Throughout the time of the fraud discussed in this memorandum, SEPTA issued

“procurement cards,” also known as P-Cards, which operated as SEPTA credit cards, to

managers working in SEPTA’s BBD. The managers worked at various jobsites where

SEPTA facilities were under construction for rehabilitation and renovation. SEPTA had

established written rules and procedures that were provided to these employees
                                              3
         Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 4 of 23




concerning the use of these cards.

       SEPTA rules allowed the P-Cards to be used for legitimate business reasons to

purchase materials and equipment for jobsites when there was an emergency need for

those materials and equipment that were not available in SEPTA’s stock system. Under

SEPTA rules, most materials for a jobsite should have been purchased in advance of the

project through the purchase order process. The SEPTA Procurement Card Procedures

Manual (“the Manual”) specifically provided that the procurement card program was “not

an alternative to, nor is it intended to circumvent, the normal procurement policies and

procedures.”

       Consistent with the purpose of the procurement cards, beginning in 2017, the

Manual further limited the use of the cards to (1) $1,000 for a single transaction; (2)

$4,000 for daily purchases; (3) and no more than four transactions per day. Employees

were not permitted to artificially break up purchases to hide violations of the rules, e.g.,

by making multiple purchases to avoid crossing the $1,000 threshold, also known as

“fragmenting.” Prior to 2017, these limits were lower, i.e., $500 for a single transaction

and $2,000 for daily purchases.

       C.      The Fraud Activity

               1.    The Overall Scheme

       For many years, beginning around 2013, SEPTA managers with the BBD engaged

in a fraud and bribery scheme with particular SEPTA vendors to defraud SEPTA by

abusing SEPTA’s P-Card system. The vendors provided SEPTA managers with cash and
                                              4
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 5 of 23




merchandise in exchange for vendors billing SEPTA for products that the vendors did not

provide. The vendors shared in the proceeds of the fraud.

       The two primary vendors involved in this fraud were MSI Tool Repair and Supply

and AM Services and Supplies (collectively referred to here as “MSI”) and Advantage

Industrial Supply (“AIS”). SEPTA records show that MSI was the highest biller on the

SEPTA P-cards. From 2010 through 2019, MSI billed SEPTA approximately $3.7

million for products and tool repair services. The third highest biller during this period

was AIS, charging SEPTA $1.9 million for industrial supplies. MSI was owned and

operated by Mark Irvello.

       The scheme began around 2013 when David Abell separately agreed, first with

Irvello of MSI, and then with Woloff of AIS (collectively “the vendors”), to engage with

each of them in a fraud and bribery scheme against SEPTA. Abell agreed with the

vendors that the vendor would provide Abell with regular cash payments for Abell’s

personal benefit and that the vendor would falsely bill SEPTA through the P-Card system

for items that the vendor was not providing to SEPTA. The false charges would cover the

cash payments to Abell plus as much as double that amount to provide an equal share of

fraud proceeds for the vendor.

       Abell and the vendors understood and agreed that the vendors would make these

cash payments to Abell not only to generate fraud proceeds for themselves, but also to

maintain and grow the vendors’ business with SEPTA. As part of this understanding and

agreement, Abell purchased goods for SEPTA from MSI and AIS and encouraged and
                                              5
           Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 6 of 23




directed other SEPTA managers and employees in the BBD to make purchases from MSI

and AIS. Those managers and employees followed Abell’s direction and made purchases

from MSI and AIS without necessarily knowing why they were encouraged to use these

vendors.

       After agreeing to engage in this scheme, Abell regularly solicited and demanded

cash payments from the vendors. Irvello and Woloff then regularly provided cash to

Abell, generally in amounts between $1,000 and $2,000 per month. The vendors then

charged the P-Cards of SEPTA managers for numerous items that they did not provide to

SEPTA to cover the cash they gave to Abell and to generate substantial fraud proceeds

for themselves.

       Abell identified for the vendors the items for which to charge SEPTA on the P-

Cards to make the charges appear legitimate and conceal the fraud from SEPTA and

authorities. Specifically, at Abell’s direction, the vendors then falsely billed SEPTA for

products that they did not provide to SEPTA. The bills appeared legitimate on their face

because they were for products that SEPTA might use, but in fact, did not need at that

time. Similarly, at Abell’s direction, the vendors also billed SEPTA for products that they

did provide to SEPTA, but billed SEPTA for substantially more of those products than

they actually provided. The vendors thus combined legitimate with fraudulent billing,

making the scheme difficult to detect.

       Working with Abell and other BBD managers, the vendors used the managers’ P-

Cards interchangeably to make it easier to generate fraud proceeds and bill SEPTA
                                             6
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 7 of 23




without exceeding the transactional limits on the individual P-Cards. The vendors thus

used any manager’s P-Card for transactions without regard for who was making a

purchase or engaging in fraud with them.

      Irvello and Woloff provided Abell with cash payments on a regular basis,

approximately twice per month, from in or about 2013 until Abell left the employment of

SEPTA on or about May 25, 2016.

      Approximately one year before David Abell left the employment of SEPTA, he

retired from his position as Senior Director of Maintenance and became a contractor for

SEPTA, continuing to work in SEPTA’s BBD as he did as a manager. SEPTA replaced

Abell with Rodney Martinez, making Martinez the new Senior Director of Maintenance.

Abell trained Martinez in his new position and introduced Martinez to the cash-payment

aspect of the fraud scheme.

      Irvello and Woloff then made regular cash payments to Abell and Martinez and

continued to falsely bill SEPTA for products that they did not provide to SEPTA, as

described above. The false billing covered the cash payments to Abell and Martinez and

provided fraudulent proceeds for the vendors.

      Beginning on or about May 25, 2016, when Abell left the employment of SEPTA,

Woloff continued the fraud scheme with Martinez. That is, Martinez regularly solicited

cash payments from Woloff who provided cash to Martinez and fraudulently billed

SEPTA through the P-Cards to cover the cash payments and the defendant’s share of the

fraud proceeds.
                                            7
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 8 of 23




      Around this time, Martinez invited Fleck to join the scheme with Woloff. At the

request of Martinez, Fleck helped identify the items for which Woloff would falsely bill

SEPTA. Fleck then shared, in part, in the cash proceeds he obtained from Woloff.

      Several other SEPTA BBD managers, including those identified in the

information, engaged in similar fraud activity with vendors Irvello and Woloff. Those

managers solicited the vendors for cash and personal items at no cost to the SEPTA

managers. The vendors agreed to provide the cash and personal items to the managers,

and as the parties further understood and agreed, the vendors fraudulently billed SEPTA

to cover the cost of those payments and products and to generate additional fraud

proceeds for the vendors. The cash and items Woloff provided to SEPTA managers

included, for example, HVAC equipment for Abell; a Weber Genesis II grill and

thousands of dollars in cash payments to Stephen Kish; a Weber Genesis II grill for Peter

Brauner; a WoodMaxx-6600 tractor backhoe attachment for Brauner; an Echo Show and

Ring doorbell for James Turner; and Yeti coolers for Jesse Fleck.

      From in or about 2013 through in or about 2019, Irvello and Woloff, through their

companies, each became one of SEPTA’s largest billers on the P-Card. In doing so,

Irvello defrauded SEPTA of more than $540,000, and Woloff defrauded SEPTA of more

than $330,000. As part of this scheme, Woloff personally obtained more than $139,000 in

fraud proceeds.




                                            8
           Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 9 of 23




   III.      STATUTORY MAXIMUM PENALTIES
          The Court may impose the following statutory maximum sentences: Count One

(aiding and abetting theft from a program receiving federal funds), 10 years’

imprisonment, a three-year period of supervised release, a $250,000 fine, and a $100

special assessment; Count Two (bribery involving a program receiving federal funds), 10

years’ imprisonment, a three-year period of supervised release, a $250,000 fine, and a

$100 special assessment; and Count Three (wire fraud), 20 years’ imprisonment, a three-

year period of supervised release, a $250,000 fine, and a $100 special assessment.

          Total Maximum Sentence is: 40 years’ imprisonment, a three-year period of

supervised release, a $750,000 fine, and a $300 special assessment. Full restitution of

$330,197 also shall be ordered. Forfeiture of $139,273, which represents all proceeds

obtained by the defendant from the fraud and bribery offenses also shall be ordered.

   IV.       SENTENCING GUIDELINES

          The government agrees with the guideline calculation for the bribery offense,

which drives the calculation in this case, as set forth in the Presentence Investigation

Report (“PIR”): Under USSG § 2C1.1(a)(2), the base offense level for bribery is 12.

Under USSG § 2C1.1(b)(1), the offense involved more than one bribe or extortion,

resulting in a 2-level increase to the base offense level. Under USSG § 2B1.1(b)(1)(G),

the value of that which was obtained by the defendant and his co-schemers, and the loss

to SEPTA is more than $250,000 but less than $550,000, resulting in a 12-level increase

to the base offense level. The defendant accepted responsibility and did so in a timely

                                               9
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 10 of 23




manner, resulting in a 3-level downward adjustment under USSG § 3E1.1(a) and (b).

       This results in a total offense level of 23. The defendant is in Criminal History

Category I, yielding a sentencing guideline range of 46 to 57 months in prison.

       Consideration of the 3553(a) Factors

       (1)    The nature and circumstances of the offense

       The nature and circumstances of Woloff’s criminal conduct are extremely serious

and troublesome. Woloff was a vendor serving a public transit organization and he chose

to take advantage of SEPTA’s employee credit card system to steal hundreds of

thousands of dollars from SEPTA, benefitting himself and his business at the expense of

SEPTA and the public. It is also particularly disturbing that this criminal activity

persisted over several years and became a daily way of doing business for Woloff and his

corrupt SEPTA customers. Woloff’s providing cash and products to SEPTA managers

while falsely billing SEPTA for products it was not receiving to generate illicit profits for

Woloff represents the height of brazen fraud activity. Woloff was a successful

businessperson who did not need to engage in this conduct, and his choosing to do so

reflects unmitigated greed.

       Crimes like this do tremendous damage to federally funded agencies like SEPTA.

They cause the taxpayers and citizens of Philadelphia to lose faith in the integrity of one

of the largest metropolitan transportation organizations in the country. People are already

cynical about government and government-funded entities like SEPTA, and internal

fraud and bribery activity as charged in this case, fans the flames of this cynicism.
                                             10
           Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 11 of 23




Internally at SEPTA, these crimes demoralize the dedicated, honest, and hard-working

employees who worked with and for the corrupt supervisors charged in this case. SEPTA

has expended and will continue to expend substantial financial and psychic resources

trying to repair the damage from the fraud and ensure that it does not happen again.

       SEPTA provided a victim impact statement, signed by Denise S. Wolf,

Inspector General, and Robin Deveney, Director, Procurement & Supply Chain

Management Audit, in which they expressed the ways in which this crime damaged the

organization:

       The criminal fraud executed by nine bad actors damaged this organization, its
       employees, and the members of the public who rely on us for their transportation
       needs. To put it simply, it hurt a lot. We still feel the impact --- financial loss,
       decreased morale, and damaged reputation -- and the effects of this fraud on the
       organization are not going away any time soon. SEPTA is not a for-profit
       enterprise; it relies heavily on funding from taxpayers to subsidize the fares
       received from riders. We depend on the integrity of each of our employees to
       steward these public funds and provide transit services to millions of riders. When
       employees – even if only a small number -- violate this public trust, the damage to
       our organization is tremendous.

This was obviously a serious crime that had a substantial impact on the victim, and the

government’s sentencing recommendation appropriately accounts for this sentencing

factor.1


1 In his sentencing memorandum, the defendant suggests that the bribery guidelines overstate the
seriousness of this offense. The facts show otherwise. As discussed throughout this
memorandum, at the highest level of the scheme here, the conduct involved the insidious nature
of public employees accepting bribes in the form of cash and products in exchange for benefits
flowing to the vendor. Those benefits to the vendor included immediate fraudulent profits on the
illicit transactions as well as the regular and increasing flow of business generated by SEPTA
employees who could have purchased products for their work assignments from any number of
businesses. But they shopped with the vendors who were providing the highest-level managers
                                                   11
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 12 of 23




       (2)    The history and characteristics of the defendant.

       Stanley Woloff is a 71-year-old man who lives with his wife and has a supportive

family. The defendant has no drug, alcohol, or mental health problems. He has no

criminal history. Unlike so many cases that come before this Court, the defendant’s

personal history does not offer any explanation for his decision to engage in this criminal

conduct. Clearly, the defendant should have known better.

       To the defendant’s credit, even before he was confronted by the government about

this fraud, the defendant fully admitted to his misconduct and expressed remorse. He has

conducted himself extremely well throughout the investigation and litigation of this case.

The government’s recommended below-guidelines sentence properly accounts for the

defendant’s history and characteristics.

       (3)    The need for the sentence imposed to reflect the seriousness of the
              offense, to promote respect for the law, and to provide just punishment
              for the offense; and

       (4)    The need to afford adequate deterrence to criminal conduct, and to
              protect the public from further crimes of the defendant.

       A prison sentence below the applicable guidelines in the range recommended by

the government under all the facts and circumstances of this case (including those set

forth in other sentencing documents) would appropriately punish the defendant for

victimizing SEPTA through his fraud and bribery scheme. The recommended sentence



with substantial cash kickbacks. In turn, those managers encouraged their employees to shop
with the corrupt vendors.
                                                12
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 13 of 23




would promote respect for the law and deter public employees and business who serve

public agencies from engaging in this type of fraud and bribery activity. Crimes like this

are difficult to detect, as evidenced by the length of time that the defendant and others

engaged in the crimes here, making it even more essential that the sentence deter those

who might engage in this type of criminal activity.

       As numerous courts have recognized, fidelity to the guidelines and imposing

serious prison sentences serve a particularly important purpose in the area of white-collar

crime. For instance, the Supreme Court in Mistretta v. United States, 488 U.S. 361, 375

n.9 (1989), noted that the Senate Report on the Sentencing Reform Act “gave specific

examples of areas in which prevailing sentences might be too lenient, including the

treatment of major white-collar criminals.” Accord United States v. Ebbers, 458 F.3d

110, 129 (2d Cir. 2006) (“[T]he Guidelines reflect Congress’ judgment as to the

appropriate national policy for [white-collar] crimes....”); United States v. Mueffelman,

470 F.3d 33, 40 (1st Cir. 2006) (noting the importance of “the minimization of

discrepancies between white- and blue-collar offenses”). In United States v. Martin, the

Court of Appeals for the Eleventh Circuit provided the following explanation:


              Our assessment is consistent with the views of the drafters of § 3553. As
       the legislative history of the adoption of § 3553 demonstrates, Congress viewed
       deterrence as ‘particularly important in the area of white collar crime.’ S.Rep. No.
       98-225, at 76 (1983), reprinted in 1984 U.S.C.C.A.N. 3182, 3259. Congress was
       especially concerned that prior to the Sentencing Guidelines, ‘[m]ajor white collar
       criminals often [were] sentenced to small fines and little or no imprisonment.
       Unfortunately, this creates the impression that certain offenses are punishable only
       by a small fine that can be written off as a cost of doing business.’ Id.
                                             13
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 14 of 23




455 F.3d 1227, 1240 (11th Cir. 2006).

       This is especially true here. The sentence imposed must communicate to Woloff

and the public that the justice system will not tolerate this type of fraud and bribery

activity. The sentence recommended by the government, which amounts to significant

prison time for this first-time offender, would send the appropriate message to the

community that anyone who engages in fraud and bribery will suffer serious

consequences.

       (5)    The need to provide the defendant with educational or vocational
              training, medical care, or other correctional treatment in the most
              effective manner._________________________________________

       There is no need in this case to provide the defendant, a skilled and experienced

businessperson, with educational or vocational training. Thus, this statutory factor should

not affect the Court’s sentencing determination.

       (6)    The need to avoid unwarranted sentence disparities among defendants
              with similar records who have been found guilty of similar conduct.

       Considering all the facts and circumstances discussed in this memorandum and

elsewhere, the recommended sentence would not result in any unwarranted disparities

among similarly situated defendants. The recommended sentence fairly considers this

defendant’s conduct and the circumstances of his case and would be consistent with the

sentences of defendants in other cases of this nature, including that of other defendants in

this case. The government’s sentencing recommendations for the participants in this

scheme reflect consider their relative culpability and the individual facts and
                                             14
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 15 of 23




circumstances of each case.

       Considering the relative culpability of the defendants in this scheme, Rodney

Martinez, David Abell, and Stephen Kish are at the higher level of culpability among the

SEPTA employees. David Abell was the originator of the scheme and a prolific

participant, regularly obtaining cash from both vendors and encouraging his employees to

purchase products for SEPTA from the corrupt vendors. He brought Martinez into the

scheme who then took over Abell’s role and helped Abell continue to profit from the

scheme after Abell left his high-ranking position and continued with SEPTA as a

contractor. Martinez then regularly obtained cash and brought Fleck into the scheme to

assist him in the false billing. Kish was below Abell and Martinez in the SEPTA

hierarchy but was the most prolific SEPTA manager in the fraud, obtaining over

$250,000 in proceeds, much of it in the form of gold.

       At the lower level of culpability among the SEPTA employees are James Turner,

Jesse Fleck, John Brady, and Peter Brauner. They were lower-level managers than Abell

and Martinez and they participated to a lesser extent in the fraud than Abell, Martinez,

and Kish.

       The corrupt vendors in this case, Irvello and Woloff, should be considered more

culpable than the lower-level SEPTA participants in the scheme because their conduct

was far more extensive and involved repeated fraud and bribery activity over several

years. While they did not abuse the trust of the public and SEPTA as did the SEPTA

managers, Irvello and Woloff were a substantial engine driving the criminal activity in
                                            15
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 16 of 23




the multiple schemes involved in these cases. Their culpability thus is closer to that of the

higher-level SEPTA employees, but without the abuse of the public trust that represents

the most abhorrent aspect of the criminal activity in this case.

       The sentence recommended by the government in this case properly accounts for

the relative culpability of Woloff along with the other facts and circumstances of this

case, discussed here and elsewhere.

       (7)    The need to provide restitution to any victims of the offense.

       This Court need not otherwise fashion a sentence that considers the need for the

defendant to pay restitution. Under the terms of the plea agreement, the defendant should

be ordered to pay restitution of $330,197 and forfeiture of $139,273. To the defendant’s

credit, at the time of sentencing the defendant intends to pay $200,000 toward restitution.

In addition, the defendant will be able to make monthly payments toward his financial

obligations while in prison and after he is released.

       V.    RESPONSE TO DEFENDANT’S SENTENCING RECOMMENDATION

       The defendant seeks a non-custodial sentence of one-year home confinement. He

bases this request, among other reasons, on the following: (1) payment of $200,000

toward restitution at the time of sentencing; (2) his “virtually non-existent risk of

recidivism;” (3) the collateral consequences of this conviction; (4) his “sister’s medical

condition and his role as a support and caretaker;” (5) the ways in which the defendant

“has already started to move forward personally and professionally; and (6) the risks of

COVID for the defendant if incarcerated.
                                              16
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 17 of 23




       The government strenuously objects to this request for the defendant to avoid

prison time for a serious white-collar offense in which he engaged repeatedly over a

period of years. The factors on which the defendant relies, to whatever extent they are

relevant, are easily captured in the government’s request for a below-guideline prison

sentence based on the facts discussed here and in other sentencing documents.

       Starting with the defendant’s request for a non-custodial sentence based on his

payment of restitution, it is certainly a positive factor that he has begun to repay the

victim the funds he stole. But that is exactly what the defendant should be doing if he has

the financial ability to make these payments. See, e.g., United States v. Zieske, 784 Fed.

App’x 481, 484 (9th Cir. 2019) (unpublished) (affirming district court’s rejection of

variance for payment of restitution because such payments to “remedy the harm caused

by the offense” are not exceptional) (citing U.S.S.G. § 5K2.0(d)(5) (policy statement).

       Likewise, Application Note C to U.S.S.G. § 3E1.1 provides that “voluntary

payment of restitution prior to adjudication of guilt” is a factor in determining whether

the defendant qualifies for a 2-level downward adjustment for acceptance of

responsibility. The guidelines thus already account for the defendant’s payment of

restitution, which here did not come until long after he pleaded guilty. By analogy, courts

have found that even full restitution is not an appropriate ground for departure from the

Guidelines, but simply ground for a reduction within the Guidelines. See, e.g., United

States v. Bean, 18 F.3d 1367, 1369 (7th Cir. 1994) (finding repayment of the entire

amount fraudulently obtained from a bank ($75,000) constituted the restitution
                                              17
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 18 of 23




contemplated under Note 1(c) to § 3E1.1 and the defendant was therefore limited to a

reduction within the Guidelines); United States v. Brewer, 899 F.2d 503, 509 (6th Cir.

1990) (prompt repayment of entire $25,000 stolen only entitled defendant to a reduction

within Guidelines, not departure). The Sixth Circuit Court of Appeals appropriately

pointed out that rewarding a defendant who can afford to pay restitution in the form of a

below-guideline sentence would unfairly benefit wealthier defendants at the expense of

those who are less fortunate. The guidelines were not intended to create such unfair

disparities. United States v. Demonte, 25 F.3d 343, 346-47 (6th Cir. 1994). Here, the

government’s recommended sentence would properly account for the defendant’s

restitution payments in this case.

       Likewise, the government recognizes that the defendant is unlikely to re-offend

and has moved forward in his life since engaging in this criminal conduct. However, the

government not seeking a sentence based on specific deterrence. As discussed above,

general deterrence is a critical component to sentencing here, and that factor would be

substantially undermined if this defendant were able to avoid prison. When white collar

criminals go to prison for their misconduct (as opposed to serving a sentence of house

arrest, akin to life during the pandemic) it sends a far different and important message

about the consequences of such crimes. It simply unacceptable to conclude that one can

engage in fraud and bribery involving a public entity and hundreds of thousands of

dollars in losses, as is the case here, and avoid jail because one is not likely to re-offend.

       The medical condition of the defendant’s sister also does not warrant a non-
                                              18
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 19 of 23




custodial sentence. It is true that a district court has the authority to depart downward

under the Guidelines for extraordinary or unusual family circumstances. See, e.g., United

States v. Dominguez, 296 F.3d 192, 196 (3d Cir. 2002). Even though the defendant is not

formally requesting a “downward departure” on this basis, the guidelines on this issue are

instructive. U.S.S.G. § 5H1.6 clearly states that family ties are not ordinarily relevant in

determining whether a departure may be warranted. United States v. Gaskill, 991 F.2d 82,

84-85 (3d Cir. 1993). In fact, the Sentencing Commission has classified the existence of

family ties and responsibilities as a “discouraged” basis for departure. Koon v. United

States, 518 U.S. 81, 95 (1996). See also Section 5H1.6 app. note 1(B). The Third Circuit

repeatedly has held that downward departures based on family ties and responsibilities

should be the exception rather than the rule. United States v. Sweeting, 213 F.3d 95, 100

(3d Cir. 2000); United States v. Higgins, 967 F.2d 841, 846 (3d Cir. 1992). The exception

is defined as a “very narrow category” of “extraordinary.” Higgins, 967 F. 2d at 846.

       The defendant is a part-time caretaker of his sister who has special needs. That

situation it is not so extraordinary to warrant the non-custodial sentence that the

defendant seeks. There are others who already care for the defendant’s sister, and they

can continue to do so while the defendant is incarcerated. There are unfortunate but

ordinary consequences that follow from convictions for serious crimes, including the loss

of support for family members. The defendant’s family circumstances do not warrant the

extraordinary leniency requested by the defendant.

       Similarly, the defendant is not entitled to a non-custodial sentence to account for
                                             19
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 20 of 23




the collateral consequences of the defendant losing the full value of his business and

other financial challenges. These too are ordinary and expected consequences of

engaging in a serious fraud and bribery scheme with one’s business and do not justify the

extreme reduction of sentence sought by the defendant.

       Finally, the defendant is not entitled to a non-custodial sentence because of

general risks associated with COVID-19. The fact of the COVID-19 pandemic, which

poses a general threat to every non-immune person in the country, does not justify a non-

custodial sentence. In the context of compassionate release motions under 18 U.S.C.

§ 3582(c)(1)(A)(i), the Third Circuit has held: “the mere existence of COVID-19 in

society and the possibility that it may spread to a particular prison alone cannot

independently justify compassionate release, especially considering BOP’s statutory role,

and its extensive and professional efforts to curtail the virus’s spread.” United States v.

Raia, 954 F.3d 594, 597 (3d Cir. 2020); see United States v. Roeder, 807 F. App’x 157,

161 n.16 (3d Cir. 2020) (per curiam) (not precedential) (“[T]he existence of some health

risk to every federal prisoner as the result of this global pandemic does not, without more,

provide the sole basis for granting release to each and every prisoner within our

Circuit.”).

       In addition, the BOP has engaged in aggressive efforts to mitigate the spread of

COVID-19, including through a campaign to vaccinate all willing inmates. A substantial

portion of the inmate population has been vaccinated. BOP has done well during the

pandemic, with a very low death rate. While there have been 294 inmate deaths related to
                                             20
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 21 of 23




COVID-19 at BOP institutions (which at the outset of the pandemic held over 157,000

inmates), there have close to one million deaths in the general population. Both figures

represent tragedies, but the defendant cannot show that the toll in BOP facilities is

materially worse than in the rest of the country. Currently there are only 73 known

positive cases in an inmate population nationwide of about 150,000. The latest statistics

are available at www.bop.gov/coronavirus.

       The defendant has not suggested that he presents any particular increased risk

associated with COVID-19, other than his age (71), and he presumably has been

vaccinated (since he does not state otherwise). Particularly at this stage of the pandemic

and given the facts of this case and statutory sentencing factors discussed above, COVID-

19 does not provide a basis for the defendant to avoid a prison sentence.

       VI.    GOVERNMENT’S SENTENCING RECOMMENDATION

       For all the reasons set forth above, the government requests that this Court impose

a prison sentence below the guideline range of 46 to 57 months, and within a range of

approximately 18-24 months, which would be consistent with an 8-level reduction under

the Sentencing Guidelines. This Court should also impose restitution and forfeiture as

noted above. Such a sentence would properly consider all the sentencing factors in the

context of this case, particularly the seriousness of the offense and the need to promote




                                             21
        Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 22 of 23




respect for the law and deter others from engaging in similar illegal conduct.

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                                          Respectfully submitted,

                                          JENNIFER ARBITTIER WILLIAMS
                                          United States Attorney



                                          s/ Louis D. Lappen
                                          LOUIS D. LAPPEN
                                          Deputy United States Attorney




                                            22
       Case 2:21-cr-00311-CDJ Document 19 Filed 04/28/22 Page 23 of 23




                           CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the Government’s Sentencing

Memorandum has been filed on ECF and served via email upon:

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                                        /s Louis D. Lappen
                                        LOUIS D. LAPPEN
                                        Deputy United States Attorney




Date: April 28, 2022




                                          23
